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                         UNITED STATES DISTRICT        C,URT                , ,     A
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In rhe Matter of the search   of:                 I               'r;"r!!i;l:*)^*f
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The Twitter accounts @AhkrheBlackArab located No. 14 M b47
at www.twitter.com/ahktheblackarab,
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                                                  I

@AbuFarriss located at www.twitter.com/ | Magistrate Judge Maria Valdez
abufarriss, and @abothabetk located at
www.twitter.com/abothabetk, further described inl UNDER SEAL
                                                  I




Attachment A                                      I




               GOVERNMENT'S THIRD MOTION TO CONTINUE SEAL
              ON SEARCH WARRANT. APPLICATION. AND AFFIDAVIT

        Now comes the UNITED STATES OF AMERICA, by ZACHARY T. FARDON,

 United States Attorney for the Northern District of Illinois, and states as follows in

 support of its Third Motion to Continue SeaI on Search Warrant, Application, and

 Affidavit:

        1.      On or about October L4, 20L4, the government applied for and this

 Court issued a warrant to search the above-captioned accounts (Subject Aecounts).

        2.      The government's Application and Affidavit in support of the Search

 Warrant detailed the facts supporting probable cause to believe that evidence and

 instrumentalities concerning Providing and Attempting to Provide Material Support

 or Resources to a Foreign Terrorist Organization offenses, in violation of Title   18,

 United States Code, Section 23398(a)(1), would be found in the Subject Accounts.

        3.      Also on or about October 14,2014, this Court granted the government's

 Motion to SeaI Search Warrant, Application, and Affidavit for a period of 60 days,

 until December 13, 2014.
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      4.        On or about December 9, 2014, this Court granted the government's

First Motion to Continue Seal on Search Warrant, Application, and Affidavit for an

additional 90 days, until March 13, 2015.

       5.       On or about March L2, 2015, this Court granted the government's

Second Motion     to Continue Seal on Search Warrant, Application, and Affidavit for

an additional 90 days, until June 11, 2015.

       6.       The government's investigation in this matter is ongoing and disclosure

of the Search Warrant, Application, and Affidavit would jeopardize the investigation

by: (a) providing the subject of the investigation an opportunity to destroy evidence

or flee; and   ft) disclosing the details of facts known to investigators, the identities of
witnesses, and the investigative strateg;z.

       For the foregoing reasons, the government respectfully requests that the

Search Warrant, Application, and Affidavit, and        all related motions and orders to

seal continue to be sealed for an additional 90 days, from June 11, 2015, until

September 9, 2015, or until further Order of the Court.

Date: June 11, 2015                               Respectfully submitted,

                                                  ZACHARY T. FARDON


                                           By:
                                                         YJO
                                                                          Attorney
                                                  219 S. Dearborn Street, Rm. 500
                                                  Chicago, Illinois 60604
                                                  (312) 469-6042




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